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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

AZURE NETWORKS, LLC,                             )
                                                 )
                              Plaintiff,         )
                                                 )
               vs.                               )          Case No. 6:08-CV-398
                                                 )
NOKIA, INC., ET AL.                              )
                                                 )
                                                 )
                             Defendants.         )
                                                 )

                           ORDER OF DISMISSAL WITH PREJUDICE

       The Court grants the joint motion to dismiss filed by Azure Networks, LLC (“Azure

Networks”), Nokia Inc. and Nokia Corp. (collectively “Nokia”).           All claims between Azure

Networks and Nokia in the instant action are hereby dismissed with prejudice in accordance with the

terms of the Agreement reached by the parties. Nokia shall retain its ability to assert all defenses

and/or claims in the event of any further litigation. Aloft has not released, and nothing in this

dismissal shall be construed as a license, release or discharge of, any claim Aloft has or may have in

the future against any other defendant named in this action or any other asserted infringer of the

patents-in-suit. All such rights have been, and are, expressly reserved. Each party is to bear its own

costs and attorney fees.

          So ORDERED and SIGNED this 13th day of July, 2009.




                                 __________________________________
                                 LEONARD DAVIS
                                 UNITED STATES DISTRICT JUDGE


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